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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  NIPPON SHINYAKU CO., LTD.,               )
                                           )
             Plaintiff,                    ) C.A. No. 21-1015 (JLH)
                                           )
       v.                                  )
                                           )
 SAREPTA THERAPEUTICS, INC.,               )
                                           )
             Defendant.                    )
  SAREPTA THERAPEUTICS, INC. and THE )
                                           )
  UNIVERSITY OF WESTERN AUSTRALIA,
                                           )
                                           )
             Defendant/Counter-Plaintiffs, )
                                           )
       v.                                  )
                                           )
  NIPPON SHINYAKU CO., LTD.                )
  and NS PHARMA, INC.                      )
                                           )
             Plaintiff/Counter-Defendants. )

   STIPULATION AND [PROPOSED] ORDER REGARDING POST-TRIAL BRIEFING

        IT IS HEREBY STIPULATED AND AGREED, by and between Nippon Shinyaku Co.

 Ltd. and NS Pharma, Inc. (collectively, “NS”) and Sarepta Therapeutics, Inc. and the University

 of Western Australia (collectively, “Sarepta”) (together, the “Parties”) by and through their

 respective counsel, and subject to the approval of the Court, that the following schedule shall

 govern post-trial briefing for motions relating to the jury trial in the above-referenced matter:

          Event                                     Deadline

  Parties’ Opening Post-Trial Briefs, including     February 14, 2025
  the Parties’ Opening Briefs from issues
  arising from the jury trial and NS’s Opening
  Brief and Proposed Findings of Fact and
  Conclusions of Law from the bench trial on
  inequitable conduct

  Parties’ Responsive Post-Trial Briefs,            April 1, 2025
  including the Parties’ Responsive Briefs from
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  issues arising from the jury trial and Sarepta’s
  Answering Brief and Proposed Findings of
  Fact and Conclusions of Law from the bench
  trial on inequitable conduct


  Parties’ Reply Post-Trial Briefs, including the     April 15, 2025
  Parties’ Reply Briefs on issues arising from
  the jury trial and NS’s Reply Brief on the
  bench trial on inequitable conduct



        For the above-referenced post-trial briefing, each side shall be limited to 30 pages for their

 opening and responsive briefs and 15 pages for reply briefs. The Parties’ Proposed Findings of

 Fact and Conclusions of Law shall be limited to twenty pages.



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                                                      Counsel for Defendant and Counter-Plaintiff
                                                      Sarepta Therapeutics, Inc.

 Dated: January 3, 2025


                                7th day of January, 2025.
                SO ORDERED this __



                                                        _____________________________
                                                        Honorable Jennifer L. Hall
                                                        United States District Court Judge
